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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION



CHRISTINA MOSS                                                                          PLAINTIFF

                                          NO. 15-5175

PMAB, LLC; and DOES 1-10, inclusive                                                  DEFENDANTS


                              CLERK'S ORDER OF DISMISSAL


  On this 12th day of April, 2016, the parties hereto having filed a stipulation for dismissal pursuant

to Rule 41 (a), Federal Rules of Civil Procedure, IT IS ORDERED that plaintiff's complaint be, and

hereby is dismissed with prejudice.


                               AT THE DIRECTION OF THE COURT

                                DOUGLAS F. YOUNG, CLERK


                                BY: S. Cummings
                                Deputy Clerk
